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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION


IN RE                                           )     Chapter 11
                                                )
AUBURN FOUNDRY, INC.,                           )
                                                )     Cause No. 01-10427
                        Debtor.                 )

 THIRD APPLICATION OF ICE MILLER FOR INTERIM ALLOWANCES AS COUNSEL
               FOR THE OFFICIAL CREDITORS’ COMMITTEE
                AND FOR REIMBURSEMENT OF EXPENSES

TO THE HONORABLE ROBERT E. GRANT, UNITED STATES BANKRUPTCY JUDGE:

        Ice Miller, for its Third Application of Ice Miller for Interim Allowances as Counsel for the

Official Creditors’ Committee and for Reimbursement of Expenses ( “Application”), respectfully

states the following:

                                  Factual Background and Jurisdiction

        1.        On February 8, 2004 (the “Petition Date”), the Debtor commenced its case under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor continues to

operate its business and manage its property as a Debtor-in-Possession pursuant to Sections 1107(a)

and 1108 of the Bankruptcy Code. Shortly after the commencement of the proceedings, the Official

Creditors’ Committee of Auburn Foundries, Inc. (the “Committee”) was appointed by the United

States Trustee.

        2.        Ice Miller is a law firm composed of attorneys duly licensed to practice law before

the courts in the State of Indiana and the United States Bankruptcy Court. Ice Miller’s principal

offices are located at One American Square, Indianapolis, Indiana 46282.

        3.        On February 25, 2004, the Committee filed an Application for Order Authorizing the

Official Unsecured Creditors’ Committee to Employ Ice Miller as Counsel.
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         4.    On March 17, 2004, this Court entered an Order Authorizing the Official Unsecured

Creditors’ Committee to Employ Ice Miller as Counsel (“Retention Order”), wherein the Court

authorized the employment of Ice Miller and granted administrative expense priority, as allowed by

the Court, to the fees and expenses incurred by Ice Miller in representing the Committee.

         5.    Pursuant to the Order Approving Monthly Provisional Payments to Counsel for the

Unsecured Creditors’ Committee (the “Provisional Payments Order”) dated May 17, 2004, monthly

statements were prepared by Ice Miller and presented to the appropriate parties. The Order allows

for 80% of fees and 100% of expenses to be paid to Ice Miller on a monthly basis for its

representation of the Committee. Ice Miller submitted monthly statements covering the period of

September 1, 2004, through December 31, 2004 (the “Fee Period”), in the total sum of $14,043.00 in

fees and $689.98 in expenses. It is anticipated that upon consideration of the Application, Ice Miller

will have received $11,924.38 on account of the monthly statements, representing eighty percent

(80%) of fees and one hundred percent (100%) of expenses, pursuant to the Provisional Payments

Order.

         6.    This Court has jurisdiction over the Application pursuant to 28 U.S.C.§§ 157 and

1344(b), the resolution of the Application constitutes a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A) and this Court has the authority to grant the relief requested in the Application pursuant

to 11 U.S.C. §§ 327(e), 330, and 331.

              Request for Compensation and Reimbursement of Fees and Expenses

         7.    Ice Miller, acting as attorney for the Committee, makes this Application for an

interim allowance of compensation, pursuant to Section 331 of the United States Bankruptcy Code,

for legal services rendered and reimbursement of necessary expenses incurred from September 1,

2004, through December 31, 2004 in connection with its representation of the Committee.

         8.    During the Fee Period and pursuant to the Retention Order, Ice Miller has provided a

variety of necessary services to the Committee, including, but not limited to, the following:


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                   (a)       Reviewed, analyzed and discussed with the Committee all matters arising or

         continuing in this case, including hearing results, the Debtor’s proposed Plan and Disclosure

         Statement, and pleadings, including those relating to the appointment of a trustee, extension

         of exclusivity period for the Plan of Reorganization, extension of Debtors use of cash

         collateral, and prepared responses to the foregoing when appropriate;

                   (b)       Reviewed the Debtor’s financial and operating reports, administrative fee

         requests, and applications for the employment of professionals;

                   (c)       Advised the Committee generally on matters related to the Debtor’s ongoing

         operations;

                   (d)       Communicated on an ongoing basis with counsel for involved parties

         regarding notice and case administration issues, as well as k ept the members of the

         Committee well informed and current as to the pending motions and motions related to the

         case; and

                   (e)       Reviewed and forwarded all statements, financial information and pertinent

         pleadings to the Committee.

         The above descriptions serve as a general summary of the services provided by Ice Miller

and are intended only to highlight areas of particular importance in this case. A complete description

of all activities performed by the Ice Miller is found in Ice Miller’s billing statements, attached hereto

as Exhibit A1.

         9.        Since the Petition Date, and in accordance with the Provisional Payments Order, Ice

Miller has requested and obtained compensation and reimbursement from the Debtors of the fees and

expenses incurred by Ice Miller in its representation of the Committee on a monthly basis by


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  Due to the voluminous nature of Ice Miller’s billing statements, in an effort to minimize copying and postage expenses, Ice
Miller is serving copies of Exhibit A only upon the United States Trustee, the Debtor, counsel for the Debtor, and the chairmen
of Official Committee of Unsecured Creditors. All other parties-in-interest will be provided with a copy of the same upon
request made to Ice Miller.


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submitting detailed periodic invoices to the Debtor, counsel for the Debtor, the United States Trustee,

the chairmen for the Official Committee of Unsecured Creditors, and counsel for the Debtor’s

secured lenders and providing notice of the same to parties who have filed a Notice of Appearance

and Request for Service of Papers pursuant to Rule 2002 of the Federal Rules of Bankruptcy

Procedure.

        10.     Ice Miller’s billing statements, attached hereto as Exhibit A, set forth in detail the

nature of the legal services rendered by Ice Miller, the dates on which Ice Miller’s personnel

rendered such legal services, the identity of the Ice Miller attorneys and paralegals who performed

such legal services, the time spent by each of Ice Miller’s personnel in performing such legal

services, and the amount of fees attributable to each such legal service performed by Ice Miller’s

attorneys and paralegals. Ice Miller’s billing statements provide the hours spent by the professionals

for whom compensation is sought, reflect the hourly rate charged for each of the professionals, and

comply with the United States Trustee’s guidelines by breaking time and expenses out into matters

related to well-defined categories of services.

        11.     Ice Miller has expended a total of 45 hours from September 1, 2004, through

December 31, 2004, in representation of the Committee. The value of the services rendered to the

Committee billed at rates normally charged by Ice Miller for comparable services performed for

other clients is the sum of $14,043.00. The interim fees herein requested are reasonable under the

circumstances, and reflect the expertise of counsel in representation of the Committee.

        12.     The amount of fees incurred during the Fee Period totals Fourteen Thousand Forty-

Three and 00/100 Dollars ($14,043.00). All of the services performed by Ice Miller are set forth in

Exhibit A and have been billed at the standard hourly rates established by Ice Miller by all denoted

timekeepers.

        13.     During the Fee Period, as itemized and summarized in Exhibit A, Ice Miller incurred

expenses in connection with its representation of the Committees totaling Six Hundred Eighty-Nine


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and 98/100 Dollars ($689.98).      Ice Miller submits that each expenditure was a necessary and

reasonable cost incident to the performance of services for the Committee.

       WHEREFORE, Ice Miller requests that the Court enter an Order:

               (A)     Approving the Application;

               (B)     Allowing interim compensation to Ice Miller in the sum of Fourteen

       Thousand Forty-Three and 00/100 Dollars ($14,043.00), representing compensation for legal

       services rendered to the Committee during the Fee Period;

               (C)     Allowing Ice Miller the sum Six Hundred Eighty-Nine and 98/100 Dollars

       ($689.98) as reimbursement for out-of-pocket expenses incurred during the Fee Period as a

       result of its representation of the Committee;

               (D)     Directing payment to Ice Miller of any outstanding and unpaid fees and

       expenses for the Fee Period; and

               (E)     Granting such other relief as is just and proper.


Dated: January 12, 2005                        Respectfully submitted,

                                               ICE MILLER


                                               By /s/ Henry A. Efroymson
                                                   Henry A. Efroymson
                                                   Niquelle R. Allen

                                                    Counsel for the Official Creditor’s Committee of
                                                    Auburn Foundries, Inc.
Henry A. Efroymson
Niquelle R. Allen
ICE MILLER
One American Square
Box 82001
Indianapolis, Indiana 46282-0200
(317) 236-2100 Telephone
(317) 236-2219 Facsimile
henry.efroymson@icemiller.com
niquelle.allen@icemiller.com



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                                         CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served upon the parties listed in the attached

distribution by electronic mail and/or U.S. First-Class Mail, postage prepaid, this 12th day of January, 2005.

Exhibit A is being provided only to the Court, Debtor’s counsel, the Chairman of the Committee, and the

United States Trustee. All other parties will received a copy of the Application without the exhibit, but Ice

Miller will provide a copy of the exhibit to any intervenor upon request.

 Ellen L. Triebold                                         W. Erik Weber
 Office of the United States Trustee                       Mefford and Weber, P.C.
 100 East Wayne Street, Suite 555                          130 East 7th Street
 South Bend, Indiana 46601                                 P.O. Box 667
 ellen.l.triebold@usdoj.gov                                Auburn, Indiana 46706-1839
 (574) 236-8105                                            erik@lawmw.com
                                                           (260) 925-2300
 John R. Burns                                             (260) 926-2610 Fax
 Mark A. Werling                                           (For City of Auburn)
 Baker & Daniels
 111 East Wayne Street, Suite 800                          Marlene Reich
 Fort Wayne, Indiana 46802-2603                            Jerald I. Ancel
 dsmcmeen@bakerd.com, skrhoads@bakerd.com                  Sommer Barnard Ackerson, P.C.
 tlwiley@bakerd.com, jacklyn.faulkner@bakerd.com           One Indiana Square, Suite 3500
 (260) 424-8000                                            Indianapolis, Indiana 46204-2023
 (260) 460-1700 Fax                                        (317) 713-3562
 (For Debtors and Debtors-in-Possession)                   (317) 713-3699 Fax
                                                           mreich@sbalawyers.com, jancel@sbalawyers.com
 Stephen E. Lewis                                          dwineinger@sbalawyers.com
 Haller & Colvin, P.C.                                     (For AFI Lending Group)
 444 East Main Street
 Fort Wayne, Indiana 46802                                 Grant F. Shipley
 slewis@hallercolvin.com                                   Shipley & Associates
 (260) 426-0444                                            233 West Baker Street
 (260) 422-0274 Fax                                        Fort Wayne, Indiana 46802-3413
 (For Fox Contractors Corp.)                               gfs@gshipley.com
                                                           (260) 422-2711
 Stephen L. Fink                                           (For Shelby County Bank/Bank of America)
 Barnes & Thornburgh
 600 One Summit Square                                     Robert A. Weiss
 Fort Wayne, Indiana 46802                                 Tricia A. Sherick
 sfink@btlaw.com                                           Honigman Miller Schwartz & Cohn, LLP
 (260) 423-9440                                            2290 First National Building
 (260) 424-8316 Fax                                        600 Woodward Avenue
 (For Shambaugh & Son, L.P.)                               Detroit, Michigan 48226
                                                           tsherick@honigman.com
 Richard J. Swanson                                        (313) 465-7662
 Macey Swanson and Allman                                  (313) 465-7663 Fax
 445 North Pennsylvania Street, Suite 401                  (For General Motors Corporation)
 Indianapolis, Indiana 46204-1800
 rswanson@maceylaw.com
 (317) 637-2345
 (317) 637-2369 Fax
 (For Glass, Molders, Pottery, Plastics & Allied
 Workers International Union Local 322)
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Josef S. Athanas                                           Brian J. Lange
Latham & Watkins                                           Schenkel, Tirpak & Kowalczyk
Sears Tower, Suite 5800                                    520 South Calhoun Street
233 South Wacker Drive                                     Fort Wayne, Indiana 46802-0501
Chicago, Illinois 60606                                    (260) 424-1333
Josef.athanas@lw.com                                       (260) 422-5242 Fax
(312) 876-7700                                             chogan@choiceonemail.com
(312) 993-9767 Fax                                         (For Schenkel & Sons, Inc.)
(For GMAC Commercial Finance, LLC – Senior
Lenders)                                                   Brad Rogers
                                                           Pension Benefit Guaranty Corporation
Brian Green                                                1200 K Street, N.W.
Shapero Green & Michel, LLC                                Washington, DC 20005-4026
Signature Square II, Suite 220                             rogers.brad@pbgc.gov
25101 Chagrin Boulevard                                    (For Pension Benefit Guaranty Corporation)
Cleveland, Ohio 44122
(216) 831-5100                                             Nancy J. Gargula
(For Cascade Pattern Company)                              United States Trustee
                                                           101 West Ohio Street, Suite 1000
Lawrence S. Crowther                                       Indianapolis, Indiana 46204
6055 Rockside Woods Boulevard, Suite 200                   USTPRegion10.SO.ECF@usdoj.gov
Cleveland, Ohio 44131
(216) 642-3342                                             Edmund P. Kos
(For Bendix Commercial Vehicle Systems, LLC)               Kos & Associate
                                                           110 West Berry Street, Suite 1904
Becket & Lee, LLP                                          Fort Wayne, Indiana 46802
16 General Warren Boulevard                                (260) 424-2790
P.O. Box 3001                                              (260) 424-1872 Fax
Malvern, Pennsylvania                                      ekos@ekoslaw.com
(610) 644-7800                                             (For City of Auburn)
(610) 993-8494 Fax
notices@becket-lee.com                                     Scott C. Andrews
(For American Express Travel Related SVCS Co., Inc.        Rubin & Levin, P.C.
Corp Card)                                                 500 Marott Center
                                                           342 Massachusetts Avenue
Gary D. Boyn                                               Indianapolis, Indiana 46204-2161
Warrick and Boyn                                           (317) 860-2865
121 West Franklin Street                                   (317) 263-9411 Fax
Elkhart, Indiana 46516                                     marie@rubin-levin.net
(574) 294-7491                                             (For NMHG Financial Services, Inc.
gboyn@warrickandboyn.com
(For Estate of David Burr Fink)                            Patrick L. Proctor
                                                           Eilbacher Fletcher, LLP
                                                           803 South Calhoun Street, Suite 400
                                                           Fort Wayne, Indiana 46802
                                                           (260) 425-9777
                                                           (For Edwin P. Rosebrock)



                                                          /s/ Henry A. Efroymson
                                                          Henry A. Efroymson
ICE MILLER
One American Square, Box 82001
Indianapolis, Indiana 46282-0002
(317) 236-2100

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